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                        IN THE MIDDLE DIS    allY1F  I1F' MONTGOMERY COUNTY
                                 IN AND FOR THE REPUBLIC azg ALABAMA
                                                NIB IAN 25 P. J14
      eed/-    CREDIT ONE BANK,ErosBRA P. HACAETT,
                                                                          Case Number:014<V-                    motr
                                                       COURT
                     P.O. BOX 98873      U.S. ÐISIRV RICT   ALA
               LAS VEGAS,NV 89193-4400U n        wIS
                                                          Lawsuit for the recovery ofthe proceeds of an
                                                      undisclosed investment contract/transaction, recovery
                           Vs.                        of all coerced payments made by plaintiff, Monetary
                                                      damages demand for: extortion of credit, constructive
                                                             fraud, income tax evasion, libel, slander,
                                                       emotional/financial distress, attorney/court fees and
pleA;Athg   JAMES ARTHUR.STOKESIII, ET AL.              statutory violations of: 26 USC § 856, the Truth in
                 2707 Garden Brook Court               Lending Act(TILA),the Fair Credit Reporting Act
                  Montgomery, AL 36116                           (FCRA). Jury Trial is demanded


                                      I.       An affidavit:"my statement of claim..."

       1. I, James Arthur Stokes III (hereinafter referred to as,"plaintiff'), sui juris, pro se, and the beneficial
       owner of The Equitable Cestui Que Trust, and as such, I claim to have first-hand knowledge ofthe
       inforrnation contained herein, and/or direct knowledge ofthe facts stated herein.

       2. A company(CREDIT ONE BANK hereinafter referred to by any ofthe following descriptors,
       "CREDIT ONE BANK/opposing party/defendant/trustee") received a money order on January 09, 2018
       tendered by the plaintiff to CREDIT ONE BANK's Financial Services Attorney Allan Shutt to discharge
       a significant portion of the account balance in the amount of $425.61 CREDIT ONE BANK dishonored
       the plaintiffs payment, never returned the dishonored instrument back to its issuer and violated Public
       Law 73-10, Chapter 48,48 Stat. 112. Within the same correspondence the plaintiffsent a request for
       documentation concerning the records for said account which the defendant willfully ignored. The United
       States has been in bankruptcy since 1933, all subsidiary corporations ofthe U.S. are acting as debtors in
       possession. All gold and silver have been banned; therefore, there is no access to lawful money and no
       real way to legally pay any alleged debt. According to Public Law 73-10 the United States government
       provided the people set-off as a means to discharge their debts. CREDIT ONE BANK is claiming the
       plaintiff owes a debt and the plaintiff is demanding that CREDIT ONE BANK prove that alleged debt. I
       object and asked that their claim(s) and actions be voided and dismissed immediately with prejudice. The
       opposing party are students of law, learned individuals, familiar with the rules and procedures and have
       failed to follow them knowingly, intentionally and deliberately.(Please note that all of my claims against
       the opposing party are said to be done knowingly and intentionally and deliberately with wanton
       disregard to due process, the plaintiffs rights, and the law). The plaintiff is also seeking recoupment and
       the compensation (monetarily)for damages as a result of the opposing party's actions.

       3. I am not a student oflaw, and am not familiar with the rules ofthe court. However, I am familiar with
       my right to have the rules suspended, and to have all of my presentments construed liberally, and I do
       hereby elect to exercise that right and request that the rules be suspended.

       4. This legal action is commenced by the plaintiff due to the defendant's negligence in curing the urgent
       matters outlined in the body ofthe complaint below. The plaintiff has previously requested records which
       would establish, if any, the defendant's standing/claim in this matter. To this date, the defendant has



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failed to execute this in a timely manner, which precludes them from any further claim(s) referencing this
matter.
                                            II.     The Complaint

1. The plaintiff executed a document/contract that was presented to him by CREDIT ONE BANK as an
application for credit, but was in fact a security instrument and thus is governed under the Uniform
Commercial Code(UCC)article 8. More importantly, this also means that the plaintiff is a party to an
investment contract which was not disclosed to him. Additionally, CREDIT ONE BANK made the
plaintiff an undisclosed party to a Pooling and Servicing Agreement(PSA)that was not subscribed to or
memorialized by him, ultimately rendering the contract void and unenforceable. These are direct
violations ofthe Truth in Lending Act(TILA), 12 USC § 5301, and the Statute of Frauds under the UCC.
As a result, through this legal proceeding the plaintiff is asserting his defenses, filing his adverse claim,
and seeking recoupment and compensation (pursuant to Public Law 111-203/12 USC § 5301 DODD-
FRANK WALL STREET REFORM AND CONSUMER PROTECTION ACT)of the undisclosed
proceeds from the sale ofthe financial asset/security in which the plaintiff has proprietary ownership.

2. Furthermore, the plaintiff, as an entitlement holder ofa securities account with a securities
intermediary, is entitled to the proceeds ofthat transaction. According to 12 USC §1813 (1)(1) and the
Financial Accounting Standards Board 95(FASB 95 Footnote 1)statement of cash flows, when a note
(i.e. security instrument/application) is deposited into the consumer's demand deposit account it becomes
the equivalent of money or cash. It becomes a payment to the bank and a receipt to the depositor and a
receipt to the bank and a payment to the depositor. This means that the plaintiff, whose credit, which the
 United States Supreme Court and lower courts have well established that banks cannot lend credit as it is
a violation offederal law, CREDIT ONE BANK utilized to create the investment conduit, funded the
entire transaction. The plaintiff donated the funds to this constructive trust making him the
grantor/settler/lender and beneficiary ofthe trust and subsequent owner ofthe proceeds. In turn, making
CREDIT ONE BANK (the trustee) liable for the payment of any and all associated taxes(26 USC § 2603
(a)(1-2)). Until CREDIT ONE BANK pays the taxes associated with the use ofthe plaintiffs credit no
lien shall attach(26 USC § 6324)thus nullifying enforceability and CREDIT ONE BANK's authority to
demand payment from the plaintiff(UCC § 9-203(a)(b)).

3. CREDIT ONE BANK performed a securitization ofthe financial asset(application for credit).
CREDIT ONE BANK created asset backed securities(ABS)or bonds from the financial asset issued by
the plaintiff. CREDIT ONE BANK then transferred/sold these credit card receivables to a trust, and as
trustee CREDIT ONE BANK then sold certificates backed by the plaintiffs credit to institutional
investors. As trustee for the trust CREDIT ONE BANK is responsible for the payment of the Capital
Transfer Tax paid out as a taxable termination per the TRANSFER AND SERVICING AGREEMENT
(title 26 USC § 2511, 2603(2), 2611 (a)ofthe Internal Revenue Code). CREDIT ONE BANK must first
file a tax retum with the Internal Revenue Service (I.R.S.). The plaintiff has no knowledge of the
existence of evidence that CREDIT ONE BANK paid the tax that was withheld from the use Ofthe
plaintiffs credit. Neither was the security instrument/funds transferred into the trust because in order to
do so would be a violation of the plaintiffs rights. Therefore, there were no funds within the corpus ofthe
trust and the "loan/extension of credir was unsecured. Furthermore, CREDIT ONE BANK was not the
holder in due course of the security instrument (financial asset); CREDIT ONE BANK took the security
instrument subject to the claims and defenses ofthe true rightful entitlement holder/issuer/proprietary
owner, which is the plaintiff(UCC § 3-305 (c)). It is unlawful for CREDIT ONE BANK to hold,
negotiate, or transfer(sale/"assige)the security instrument that belong to the issuer/originator, the
plaintiff(UCC § 3-105(a)(c)& § 8-102). Therefore, CREDIT ONE BANK does not have a)a qualified
trust, b)is selling unsecured certificates to investors and c)is in possession ofcontraband and have
extorted credit(18 USC § 894(a)(1-2))from the plaintiff by billing him for the tax that CREDIT ONE
BANK,through willful neglect, failed to pay(income tax evasion 26 USC § 7201). As a result of

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CREDIT ONE BANK's failure to comply with federal regulations and to properly establish a qualified
investment trust, CREDIT ONE BANK does not have lawful standing/authority to issue the plaintiff with
monthly payment presentments because the trust does not own the required security instrument nor did
the trust fund the transaction.

4. As ofthe date ofthe writing of this complaint CREDIT ONE BANK is negatively reporting this item
in the public to credit reporting agencies/bureaus without validating the alleged debt (violation ofthe Fair
Credit Reporting Act, FCRA).

                                       III.      Proof of claim demand

1. This is a demand for the defendant to establish its lawful claim/standing by producing the following
verified documentation. Said documentation will confirm both the plaintiffs and the defendant's standing
in this case and facilitate the efficient resolution of this mafter. The plaintiff requests the following
records from the defendant:

   • That CREDIT ONE BANK show me identification and their authority to act or do a presentment
     for payment as mandated by § 3501 (2)(B)of the Uniform Commercial Code(UCC).
   • That CREDIT ONE BANK sign a receipt for the instrument for payment made in full as accord
     and satisfaction under § 3311 of the UCC, by Securitization of the CONTRACT under the
     TRANSFER AND SERVICING AGREEMENT and to surrender the instrument or promissory
     note to me as mandated by § 3501 (2)(C)of the UCC.
   • The statement and U.S. informational tax return form 1096 filed with the Internal Revenue
     Service (I.R.S.) demonstrating that CREDIT ONE BANK did indeed pay the tax required by law.
   • The Committee on Uniform Securities Identification Procedures(CUSIP)number(s)for the
     security instrument(s)(financial asset/application for credit)
   • The 1099 OID (original issue discount) with form 8281, the I099A (as an acquisition) and 1099
     INT filed with the I.R.S. for said transaction
   • The receipt of deposit for the plaintiffs demand deposit account for said transaction that shows
     CREDIT ONE BANK is in compliance with 12 USC §1813 (1)(1) and the Financial Accounting
     Standards Board 95(FASB 95 Footnote 1)statement of cash flows
   • The call report(s) registered with the Federal Deposit Insurance Corporations(FDIC)for the
     plaintiffs account
   • The full statement of accounting(UCC § 9-210)(i.e. the accounting ledger(s) and balance
     sheet(s) which include all off-balance sheet items) associated with the plaintiffs account.
   • The Prospectus filed pursuant to rule 424B5 with the Securities Exchange Commission(SEC)
     associated with the plaintiffs account.

If the defendant cannot produce the requested records and satisfactorily establish their lawful authority or
claim to demand payment from the plaintiff, then CREDIT ONE BANK must pay the tax, remove all
accounts/claims against the plaintiff, and return the coerced payments, and undisclosed proceeds from this
transaction.

                                    IV.       Relief sought by the plaintiff

1. The plaintiff is seeking relief in the following manner:
   I.   Expungement ofrecords from the public
             a. all claims levied against the plaintiff by the defendant must be voided and dismissed
                  immediately with prejudice


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II.    the plaintiff seeks monetary compensation for the following violations committed by the
       defendant:
           a. recoupment ofthe proceeds from the sale ofthe financial asset/security of which the
                plaintiff has proprietary ownership (value to be determined)
           b. recovery of all coerced payments made by the plaintiff(value to be deterrnined)
           c. constructive fraud
           d. income tax evasion(26 USC § 7201)
           e. violation of Public Law 73-10, Chapter 48,48 Stat. 112
           f. recoupment for the amount of plaintiffs credit used to fund the investment conduit(value
                to be determined)
           g. Theft of tendered negotiable instrument
           h. compensation for the defendant's multiple violations ofthe plaintiffs rights, which
                inchide: extortion of credit, libel, slander, and emotional/financial distress caused
           i. Statutory violations: 26 USC § 856, TILA, and FCRA
           j. attorney and court fees

       Tentative total monetary compensation sought: $50,000.00(amount subject to increase pending
       further investigation)




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Sincerely,




James Arthur Stokes III
Executor of the ESTATE
All Rights Reserved UCC 1-308 and Without Recourse UCC 1-415
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